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                   EXHIBIT B
                                      To
    DEBTORS’ OBJECTION TO THE
   MOTION OF WILSON PHILLIPS TO
  MODIFY THE AUTOMATIC STAY, TO
 THE EXTENT APPLICABLE, TO ALLOW
 PAYMENT, REIMBURSEMENT, AND/OR
  ADVANCEMENT OF DEFENSE COSTS
      UNDER THE D&O POLICY
           [Docket No. 695]
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 1                     UNITED STATES BANKRUPTCY COURT
 2                        NORTHERN DISTRICT OF TEXAS
 3                                DALLAS DIVISION
 4     IN RE:                                    )
                                                 )    Case No.
 5     NATIONAL RIFLE ASSOCIATION                )    21-30085-hdh-11
       OF AMERICA AND SEA GIRT, LLC)
 6                                               )    Chapter 11
              Debtors.                           )
 7
 8
 9
10        ************************************************
11                      VIDEOTAPED ORAL DEPOSITION OF
12                           WILSON H. PHILLIPS, JR.
13                                MARCH 19, 2021
14              CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
15                             (Reported Remotely)
16        ************************************************
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 1
 2            On the 19th day of March, 2021, at 10:30 a.m.
 3     CST, the videotaped oral deposition of the
 4     above-named witness was taken at the instance of The
 5     State of New York, via Zoom video conference, before
 6     Michelle L. Munroe, Certified Shorthand Reporter in
 7     and for the State of Texas, the Witness located at
 8     his residence in Dallas, Texas, pursuant to Notice,
 9     the Thirty-Sixth Emergency Order Regarding the
10     COVID-19 State of Disaster, and the agreement
11     hereinafter set forth.
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 1               A P P E A R A N C E S (continued)
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 1     the U.S. Constitution.                                               10:45:12

 2           Q.     Do you believe that Mr. LaPierre in his                 10:45:24

 3     position as executive vice president acted with                      10:45:26

 4     prudence with respect to the NRA's finances?                         10:45:29

 5                          MS. EISENBERG (VIA ZOOM):         Objection.    10:45:33

 6           A.     Again, I decline to answer based on the                 10:45:34

 7     privilege provided to me by the Fifth Amendment to                   10:45:37

 8     the U.S. Constitution.                                               10:45:39

 9           Q.     Okay.     In your role as treasurer,                    10:45:42

10     Mr. Phillips, what were your responsibilities?                       10:45:45

11                          MS. EISENBERG (VIA ZOOM):         Objection.    10:45:48

12           A.     Overseeing the financial position of the                10:45:51

13     National Rifle Association.                                          10:46:01

14           Q.     Did you have a fiduciary obligation to the              10:46:02

15     NRA, if you know?                                                    10:46:07

16                          MS. EISENBERG (VIA ZOOM):         Objection.    10:46:08

17           A.     I decline to answer based on the privilege              10:46:09

18     provided to me by the Fifth Amendment of the U.S.                    10:46:11

19     Constitution.                                                        10:46:15

20           Q.     Who were you responsible for supervising                10:46:16

21     within the NRA?                                                      10:46:18

22                          MS. EISENBERG (VIA ZOOM):         Objection.    10:46:20

23           A.     They were the head -- heads of several                  10:46:23

24     divisions.     It was the accounting and reporting,                  10:46:29

25     purchasing, IT, information technology and other                     10:46:33

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 1             A.   Yes, I was -- I was the treasurer of it.              10:48:06

 2             Q.   If I refer to the National Rifle                      10:48:09

 3     Association Foundation as the NRAF, will you                       10:48:13

 4     understand what I'm talking to?         Can we agree --            10:48:15

 5             A.   I will.                                               10:48:15

 6             Q.   I can refer to it?    Thank you.                      10:48:17

 7                  As the treasurer of the NRAF, whom did you            10:48:21

 8     report to?                                                         10:48:26

 9                       MS. EISENBERG (VIA ZOOM):          Objection;    10:48:27

10     vague.                                                             10:48:28

11             A.   I reported to their board of directors.               10:48:31

12             Q.   When did you become treasurer of the NRAF?            10:48:34

13             A.   It was probably 1993, 1992.        I'm pretty         10:48:46

14     sure it would be 1993.                                             10:48:56

15             Q.   Going back to your role as CFO and                    10:49:02

16     treasurer at the NRA.      In the years that you worked            10:49:04

17     at the NRA, who was responsible for the preparation                10:49:09

18     of the IRS Form 990?                                               10:49:12

19                       MS. EISENBERG (VIA ZOOM):          Objection;    10:49:15

20     form.                                                              10:49:16

21             A.   I decline to answer based on the privilege            10:49:18

22     provided me by the Fifth Amendment of the U.S.                     10:49:21

23     Constitution.                                                      10:49:24

24             Q.   To your knowledge, did the NRA prepare IRS            10:49:26

25     Form 990s for each year that you were CFO or                       10:49:30

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  1    started.     I don't -- I can't tell you what year we                10:51:39

  2    started.     Once we started, I'm not aware of a                     10:51:42

  3    change.                                                              10:51:45

  4            Q.   Okay.     Do you know the approximate length            10:51:46

  5    of time the board members had to review the 990s,                    10:51:51

  6    like how long were they made available for?                          10:51:54

  7                         MS. EISENBERG (VIA ZOOM):         Objection;    10:51:57

  8    form.                                                                10:52:00

  9                         MR. WERBNER (VIA ZOOM):       If you            10:52:00

 10    understand.                                                          10:52:01

 11            A.   I understand.     They were available --                10:52:01

 12    usually the meetings lasted a day.            Some years they        10:52:05

 13    may last two days.                                                   10:52:10

 14            Q.   And they would be available that whole                  10:52:12

 15    time?                                                                10:52:14

 16                         MS. EISENBERG (VIA ZOOM):         Object to     10:52:15

 17    form.                                                                10:52:15

 18            A.   As far as I know.                                       10:52:17

 19            Q.   Okay.     Who signed the IRS Form 990s while            10:52:19

 20    you were CFO and treasurer?                                          10:52:24

 21            A.   I decline --                                            10:52:26

 22                         MS. EISENBERG (VIA ZOOM):         Objection;    10:52:27

 23    form.                                                                10:52:27

 24            A.   I decline to answer based on the privilege              10:52:27

 25    provided to me by the Fifth Amendment of the U.S.                    10:52:30

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  1    Constitution.                                                       10:52:33

  2            Q.   Did the person who signed change over the              10:52:35

  3    years that you worked at the NRA?                                   10:52:38

  4            A.   I decline to answer based on the privilege             10:52:42

  5    provided me by the Fifth Amendment of the U.S.                      10:52:45

  6    Constitution.                                                       10:52:48

  7            Q.   How was it determined who would sign each              10:52:48

  8    year's 990 form?                                                    10:52:51

  9                      MS. EISENBERG (VIA ZOOM):           Objection;    10:52:54

 10    form.                                                               10:52:55

 11            A.   I decline to answer based on the privilege             10:52:55

 12    provided to me by the Fifth Amendment of the U.S.                   10:52:58

 13    Constitution.                                                       10:53:01

 14            Q.   In your experience, did Mr. LaPierre                   10:53:02

 15    review the IRS Form 990s?                                           10:53:05

 16                      MS. EISENBERG (VIA ZOOM):           Object to     10:53:08

 17    form.                                                               10:53:09

 18            Q.   You can answer, sir.                                   10:53:13

 19            A.   I don't know.                                          10:53:15

 20            Q.   Did you ever give Mr. LaPierre an IRS Form             10:53:21

 21    990?                                                                10:53:26

 22            A.   I decline to answer based on the privilege             10:53:26

 23    provided to me by the Fifth Amendment of the U.S.                   10:53:29

 24    Constitution.                                                       10:53:32

 25            Q.   If Mr. LaPierre had asked you to provide               10:53:34

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  1    him with a copy of the IRS Form 990, would you have                  10:53:37

  2    given it to him?                                                     10:53:40

  3                        MS. EISENBERG (VIA ZOOM):          Object to     10:53:41

  4    form.                                                                10:53:42

  5            A.   I decline to answer based on the privilege              10:53:42

  6    provided to me by the Fifth Amendment of the U.S.                    10:53:44

  7    Constitution.                                                        10:53:48

  8            Q.   I don't know if I -- I don't think I asked              10:53:48

  9    the specific question.                                               10:53:50

 10                 But did Mr. LaPierre ever ask you to see                10:53:51

 11    an IRS Form 990 form?                                                10:53:53

 12            A.   I decline --                                            10:53:57

 13                        MS. EISENBERG (VIA ZOOM):          Object to     10:53:57

 14    form.                                                                10:53:58

 15            A.   I decline to answer based on the privilege              10:53:58

 16    provided to me by the Fifth Amendment of the U.S.                    10:54:00

 17    Constitution.                                                        10:54:03

 18            Q.   Was Mr. LaPierre generally present at the               10:54:05

 19    board meetings at which the Form 990s were made                      10:54:08

 20    available?                                                           10:54:11

 21                        MS. EISENBERG (VIA ZOOM):          Objection;    10:54:12

 22    form.                                                                10:54:13

 23            A.   Yes.                                                    10:54:13

 24            Q.   Did you ever discuss any aspects of the                 10:54:18

 25    preparation of the Form 990s with Mr. LaPierre?                      10:54:20

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  1                         MS. EISENBERG (VIA ZOOM):         Objection;    10:54:24

  2    form.                                                                10:54:24

  3            A.   I decline to answer based on the privilege              10:54:24

  4    provided to me by the Fifth Amendment of the U.S.                    10:54:26

  5    Constitution.                                                        10:54:30

  6            Q.   A company called -- are you familiar with               10:54:30

  7    a company called RSM?                                                10:54:34

  8            A.   Yes.                                                    10:54:37

  9            Q.   Who are -- who or what is RSM?                          10:54:39

 10            A.   It's a public accounting firm.                          10:54:42

 11            Q.   Was RSM the NRA's auditor for a number of               10:54:45

 12    years?                                                               10:54:50

 13            A.   Yes.                                                    10:54:50

 14            Q.   Okay.     Was there an annual representation            10:54:52

 15    letter the NRA would sign with respect to the RSM                    10:54:55

 16    engagement?                                                          10:55:00

 17            A.   I decline --                                            10:55:00

 18                         MS. EISENBERG (VIA ZOOM):         Objection;    10:55:01

 19    form.                                                                10:55:01

 20            A.   I decline to answer based on the privilege              10:55:01

 21    provided to me by the Fifth Amendment of the U.S.                    10:55:03

 22    Constitution.                                                        10:55:07

 23            Q.   How did the NRA retain RSM as an auditor?               10:55:07

 24            A.   There was a search by the audit committee.              10:55:15

 25            Q.   Okay.     And the audit committee made a                10:55:20

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  1    form.                                                               10:58:08

  2            A.   Yes.                                                   10:58:08

  3                         THE WITNESS (VIA ZOOM):       Sorry,           10:58:09

  4    Svetlana.                                                           10:58:11

  5            Q.   And did you -- did you provide space for               10:58:11

  6    the RSM employees to work?                                          10:58:14

  7            A.   Yes.                                                   10:58:17

  8            Q.   Where would that -- where would that space             10:58:18

  9    be?                                                                 10:58:21

 10            A.   Most -- most often it was on the second                10:58:23

 11    floor of where the accounting function was in the                   10:58:26

 12    NRA building.                                                       10:58:29

 13            Q.   Was there one particular employee assigned             10:58:32

 14    to give documents to RSM or information to RSM?                     10:58:35

 15                         MS. EISENBERG (VIA ZOOM):         Object to    10:58:41

 16    form.                                                               10:58:42

 17            A.   I don't know.     I doubt it.                          10:58:43

 18            Q.   Okay.     Do you know whether you ever signed          10:58:47

 19    the retention letters for RSM?                                      10:58:53

 20            A.   I decline to answer based on the privilege             10:58:58

 21    provided to me by the Fifth Amendment to the U.S.                   10:59:00

 22    Constitution.                                                       10:59:04

 23            Q.   Okay.     Mr. Phillips, you received a                 10:59:05

 24    corporate American Express card in your name from                   10:59:13

 25    the NRA; is that correct?                                           10:59:15

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  1            A.   I decline to answer based on the privilege             10:59:17

  2    provided me by the Fifth Amendment of the U.S.                      10:59:19

  3    Constitution.                                                       10:59:23

  4            Q.   Did you ever -- did you ever receive                   10:59:24

  5    any -- excuse me.     Withdrawn.                                    10:59:29

  6                 Did you ever authorize the issuance of                 10:59:31

  7    corporate credit cards to Joseph -- a corporate                     10:59:41

  8    credit card to Joseph DeBergalis?                                   10:59:45

  9            A.   I decline to answer based on the privilege             10:59:50

 10    provided to me by the Fifth Amendment of the U.S.                   10:59:52

 11    Constitution.                                                       10:59:55

 12            Q.   Did you authorize the issuance of a                    10:59:57

 13    corporate card to Joshua Powell?                                    11:00:03

 14            A.   I decline to answer based on the privilege             11:00:04

 15    provided to me by the Fifth Amendment of the U.S.                   11:00:04

 16    Constitution.                                                       11:00:06

 17            Q.   Do you know whether the NRA issued                     11:00:06

 18    corporate credit cards to Mr. -- I can never say his                11:00:12

 19    name correctly -- DeBergalis?                                       11:00:19

 20                      MS. EISENBERG (VIA ZOOM):           I'm sorry.    11:00:19

 21    I couldn't hear the question.                                       11:00:19

 22            Q.   Did the NRA issue a corporate credit card              11:00:21

 23    to Mr. DeBergalis?                                                  11:00:23

 24                      MS. EISENBERG (VIA ZOOM):           Objection;    11:00:25

 25    form.                                                               11:00:27

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  1            A.   I decline to answer based on the privilege            11:00:27

  2    provided to me by the Fifth Amendment of the U.S.                  11:00:27

  3    Constitution.                                                      11:00:30

  4            Q.   Did the NRA -- sorry.                                 11:00:31

  5                 Did the NRA issue a corporate credit card             11:00:34

  6    to Joshua Powell?                                                  11:00:38

  7            A.   I decline to answer based on the privilege            11:00:39

  8    provided to me by the Fifth Amendment of the U.S.                  11:00:39

  9    Constitution.                                                      11:00:40

 10            Q.   Did the NRA issue a corporate credit card             11:00:46

 11    to Millie Hallow?                                                  11:00:50

 12            A.   I decline to answer based on the privilege            11:00:52

 13    provided to me by the Fifth Amendment of the U.S.                  11:00:52

 14    Constitution.                                                      11:00:54

 15            Q.   Mr. Phillips, would issuance of a                     11:00:54

 16    corporate credit card generally be handled by you or               11:01:06

 17    those you supervise?                                               11:01:11

 18                      MS. EISENBERG (VIA ZOOM):           Object to    11:01:13

 19    form.                                                              11:01:14

 20                      MR. WERBNER (VIA ZOOM):         I'll object      11:01:14

 21    to the form.     I don't understand the question.                  11:01:15

 22            Q.   If a corporate -- I'll clarify, Counsel.              11:01:18

 23    Thank you.                                                         11:01:21

 24                 If a corporate credit card were issued by             11:01:21

 25    the NRA, would that generally be done under the                    11:01:23

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  1    auspices of the treasurer's office?                                11:01:27

  2            A.   I decline to answer based on the privilege            11:01:31

  3    provided to me by the Fifth Amendment of the U.S.                  11:01:31

  4    Constitution.                                                      11:01:34

  5            Q.   Do you know who, if anyone, within the NRA            11:01:39

  6    determines whether an employee or an officer                       11:01:41

  7    receives a corporate credit card?                                  11:01:43

  8                      MS. EISENBERG (VIA ZOOM):           Objection    11:01:46

  9    to form.                                                           11:01:46

 10            A.   I decline to answer based on the privilege            11:01:47

 11    provided to me by the Fifth Amendment of the U.S.                  11:01:47

 12    Constitution.                                                      11:01:50

 13            Q.   Do you know whether the NRA had any                   11:01:50

 14    process for determining who should receive a                       11:01:55

 15    corporate credit card?                                             11:01:57

 16            A.   I decline to answer based on the privilege            11:02:00

 17    provided to me by the Fifth Amendment of the U.S.                  11:02:00

 18    Constitution.                                                      11:02:00

 19            Q.   Do you know whether the NRA had a process             11:02:06

 20    to review expenditures charged to a corporate credit               11:02:09

 21    card?                                                              11:02:12

 22                      MS. EISENBERG (VIA ZOOM):           Object to    11:02:13

 23    the form.                                                          11:02:14

 24            A.   I decline to answer based on the privilege            11:02:14

 25    provided to me by the Fifth Amendment of the U.S.                  11:02:14

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  1    Constitution.                                                      11:02:17

  2          Q.    To your knowledge, did Mr. LaPierre know               11:02:17

  3    that some employees had corporate credit cards?                    11:02:25

  4                      MS. EISENBERG (VIA ZOOM):           Objection    11:02:28

  5    to form.                                                           11:02:30

  6          A.    I decline to answer based on the privilege             11:02:30

  7    provided to me by the Fifth Amendment of the U.S.                  11:02:30

  8    Constitution.                                                      11:02:35

  9          Q.    During -- Mr. LaPierre was examined by the             11:02:35

 10    New York Attorney General's office in this action.                 11:02:47

 11    I would like to --                                                 11:02:51

 12                      MS. CONNELL (VIA ZOOM):         Jonathan, if     11:02:52

 13    you can, call up Mr. LaPierre's deposition and pull                11:02:53

 14    it to page 174, if that's possible.                                11:02:58

 15                      MS. EISENBERG (VIA ZOOM):           Ms.          11:03:02

 16    Connell, what do you mean by this action?                          11:03:02

 17                      MS. CONNELL (VIA ZOOM):         Excuse me.       11:03:05

 18    Thank you, Svetlana.      Good catch.                              11:03:06

 19          Q.    Mr. LaPierre was examined during the                   11:03:09

 20    course of the Attorney General's investigation of                  11:03:11

 21    the NRA.    I would like to pull up, please, as                    11:03:14

 22    Exhibit A, Mr. LaPierre's deposition.                              11:03:19

 23                      MR. CONLEY (VIA ZOOM):         Just one          11:03:26

 24    second.                                                            11:03:27

 25                      MS. CONNELL (VIA ZOOM):         Thank you,       11:03:27

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  1    Constitution.                                                       11:11:01

  2            Q.   Did you have any -- ever have any                      11:11:07

  3    conversations with Mr. LaPierre regarding improperly                11:11:10

  4    covered expenses by use of a corporate credit card?                 11:11:16

  5                         MS. EISENBERG (VIA ZOOM):         Object to    11:11:21

  6    form.                                                               11:11:22

  7            A.   I decline to answer based on the privilege             11:11:23

  8    provided to me by the Fifth Amendment of the U.S.                   11:11:23

  9    Constitution.                                                       11:11:27

 10            Q.   Okay.     I would like to jump to one other            11:11:30

 11    topic for a second.        And I apologize, Mr. Phillips,           11:11:33

 12    I meant to get into this at the beginning.                          11:11:36

 13                 Am I correct in understanding that a                   11:11:39

 14    number of years ago you had a bike-related accident?                11:11:40

 15            A.   Yes.                                                   11:11:45

 16            Q.   Can you tell us the nature of that                     11:11:47

 17    accident?                                                           11:11:49

 18            A.   I hit a pothole going high speed, flipped              11:11:52

 19    over like a (inaudible) front wheel, rammed my face,                11:11:57

 20    head, arm into the -- into the path.             It was a           11:12:04

 21    concrete path.                                                      11:12:09

 22            Q.   I'm sorry to hear that.                                11:12:12

 23                 Were you hospitalized as a result of that              11:12:13

 24    accident?                                                           11:12:18

 25            A.   Yes, I was.                                            11:12:21

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  1          Q.    Did you miss work as a result of that                11:12:22

  2    accident?                                                        11:12:24

  3          A.    I did.                                               11:12:26

  4          Q.    What year did that accident occur?                   11:12:27

  5          A.    I don't know for sure.        Several years ago.     11:12:32

  6    Three or four years ago.                                         11:12:38

  7          Q.    Maybe four.    Okay.    Did it occur while you       11:12:40

  8    were an NRA employee?                                            11:12:44

  9          A.    Yes.                                                 11:12:46

 10          Q.    Okay.    When you returned to work -- did            11:12:47

 11    you return to work following that accident?                      11:12:50

 12          A.    Yes.                                                 11:12:53

 13          Q.    When you returned to work, were you able             11:12:54

 14    to fully resume your duties as CFO and treasurer?                11:12:56

 15          A.    I decline to answer based on the privilege           11:13:03

 16    provided to me by the Fifth Amendment of the U.S.                11:13:03

 17    Constitution.                                                    11:13:04

 18          Q.    Mr. Phillips, when you returned to work              11:13:12

 19    following that accident, do you believe that you                 11:13:13

 20    were unable to fully perform the duties of your job              11:13:16

 21    as CFO and treasurer of the National Rifle                       11:13:20

 22    Association?                                                     11:13:24

 23          A.    I decline to answer based on the privilege           11:13:24

 24    provided to me by the Fifth Amendment of the U.S.                11:13:24

 25    Constitution.                                                    11:13:24

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  1            Q.   Mr. Phillips, did there come a time when               11:13:33

  2    you left the NRA?                                                   11:13:35

  3            A.   Yes.                                                   11:13:38

  4            Q.   How did that come about?                               11:13:39

  5            A.   I retired.                                             11:13:42

  6            Q.   Okay.     And when was that?                           11:13:44

  7            A.   It was 2018, fourth quarter.                           11:13:46

  8            Q.   Around the time that you left the NRA, you             11:13:58

  9    signed a post employment consulting contract; is                    11:14:00

 10    that correct?                                                       11:14:03

 11            A.   I decline to answer based on the privilege             11:14:03

 12    provided to me by the Fifth Amendment of the U.S.                   11:14:03

 13    Constitution.                                                       11:14:04

 14                         MS. CONNELL (VIA ZOOM):       Jonathan, can    11:14:10

 15    we pull up tab 1?        Maybe we'll have better luck with          11:14:11

 16    that.                                                               11:14:15

 17                         MR. CONLEY (VIA ZOOM):       Yes, I hope       11:14:16

 18    so.                                                                 11:14:17

 19            Q.   While we wait for Jonathan to pull that                11:14:20

 20    up, Mr. Phillips, whose idea was it to -- for you to                11:14:25

 21    enter into a consulting contract with the NRA?                      11:14:30

 22                         MS. EISENBERG (VIA ZOOM):         Object to    11:14:34

 23    form.                                                               11:14:34

 24            A.   I decline to answer based on the privilege             11:14:42

 25    provided to me by the Fifth Amendment of the U.S.                   11:14:42

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  1    Constitution.                                                        11:14:42

  2          Q.    The transcript finally came up in the                    11:14:44

  3    shared drive.                                                        11:14:46

  4                      MR. CONLEY (VIA ZOOM):         Okay.    Good.      11:14:50

  5                      MS. CONNELL (VIA ZOOM):         But I would        11:14:52

  6    like to still go to tab 1 to the agreement if we                     11:14:52

  7    could, Jonathan.     Thanks.                                         11:14:55

  8                      MS. EISENBERG (VIA ZOOM):           Are you        11:15:00

  9    marking it as Exhibit 1?                                             11:15:00

 10                      MS. CONNELL (VIA ZOOM):         Yes.               11:15:03

 11                      MR. CONLEY (VIA ZOOM):         This will be        11:15:05

 12    Exhibit B because the --                                             11:15:07

 13                      MS. CONNELL (VIA ZOOM):         The                11:15:10

 14    transcript was A.                                                    11:15:11

 15                      MR. CONLEY (VIA ZOOM):         Right.              11:15:12

 16                      MR. CICILIANO (VIA ZOOM):           Just so the    11:15:16

 17    record's clear, are you saying that LaPierre's                       11:15:18

 18    transcript will be Exhibit 1?                                        11:15:21

 19                      MS. CONNELL (VIA ZOOM):         Yes.               11:15:22

 20                      MR. CICILIANO (VIA ZOOM):           Because we     11:15:30

 21    (inaudible) -- it's 848 pages, do you just want sub                  11:15:33

 22    pages or --                                                          11:15:37

 23                      MS. CONNELL (VIA ZOOM):                            11:15:38

 24    Unfortunately, I think we're going jump around within                11:15:39

 25    it so --                                                             11:15:41

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  1    it.     Okay.     Wait.   This is it.     Yeah.                    11:39:08

  2            Q.      Are you able to open it up?        Is everyone     11:39:26

  3    able to open it up?                                                11:39:29

  4            A.      It looks like I can open it.                       11:39:30

  5                         MS. EISENBERG (VIA ZOOM):          I'm not    11:39:30

  6    able to access it, but I don't want to slow things                 11:39:31

  7    down so -- for the moment, I don't want it to be                   11:39:34

  8    paused just for that reason.            Thank you.                 11:39:38

  9            A.      I have it.                                         11:39:40

 10                         MS. CONNELL (VIA ZOOM):         Thank you,    11:39:42

 11    Svetlana.        I appreciate it.                                  11:39:42

 12            Q.      Have you ever seen this document before,           11:39:46

 13    Mr. Phillips?                                                      11:39:47

 14            A.      I decline to answer based on the privilege         11:39:49

 15    provided to me by the Fifth Amendment of the U.S.                  11:39:49

 16    Constitution.                                                      11:39:51

 17            Q.      Mr. Phillips, if you page down to the              11:39:56

 18    final page of -- the final two pages of this                       11:40:00

 19    document, Bates number NYAG 00042332 and the                       11:40:04

 20    following page.                                                    11:40:14

 21                    Is your signature at the bottom of that            11:40:16

 22    page?                                                              11:40:19

 23            A.      I decline to answer based on the privilege         11:40:20

 24    provided to me by the Fifth Amendment of the U.S.                  11:40:20

 25    Constitution.                                                      11:40:22

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  1          Q.    Mr. Phillips, who is Pete Brownell?                  11:40:22

  2          A.    He was president of the National Rifle               11:40:29

  3    Association at the time.                                         11:40:33

  4          Q.    When you say "at the time," are you                  11:40:33

  5    referring to May 2018?                                           11:40:35

  6          A.    Yes.                                                 11:40:38

  7          Q.    And that's the date on this contract; is             11:40:39

  8    that correct?                                                    11:40:42

  9          A.    Yes.                                                 11:40:42

 10          Q.    And who is Carolyn Meadows?                          11:40:44

 11          A.    She is the current president of the                  11:40:49

 12    National Rifle Association.                                      11:40:51

 13          Q.    And she also signed this contract; is that           11:40:55

 14    correct?                                                         11:40:57

 15          A.    Yes.                                                 11:40:58

 16          Q.    And Mr. Brownell signed this contract; is            11:40:59

 17    that correct?                                                    11:41:03

 18          A.    Correct.                                             11:41:03

 19          Q.    Okay.   I would like to go back up to the            11:41:04

 20    first page of the contract, sir.                                 11:41:07

 21                To your knowledge, was a business case               11:41:12

 22    analysis performed for this contract?                            11:41:15

 23          A.    I decline to answer based on privilege               11:41:18

 24    provided to me by the Fifth Amendment of the U.S.                11:41:18

 25    Constitution.                                                    11:41:19

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  1            Q.   What is a business case analysis, to your               11:41:24

  2    knowledge?                                                           11:41:27

  3            A.   I decline to answer based on the privilege              11:41:27

  4    provided to me by the Fifth Amendment of the U.S.                    11:41:27

  5    Constitution.                                                        11:41:30

  6            Q.   Did the NRA ever require that business                  11:41:30

  7    case analysis forms be completed for contracts?                      11:41:36

  8            A.   I decline --                                            11:41:42

  9                      MS. EISENBERG (VIA ZOOM):            Object to     11:41:42

 10    form.                                                                11:41:43

 11            A.   I decline to answer based on the privilege              11:41:44

 12    provided to me by the Fifth Amendment of the U.S.                    11:41:44

 13    Constitution.                                                        11:41:46

 14            Q.   Have you ever heard the term "business                  11:41:48

 15    case analysis"?                                                      11:41:50

 16            A.   I decline to answer based on the privilege              11:41:53

 17    provided to me by the Fifth Amendment of the U.S.                    11:41:53

 18    Constitution.                                                        11:41:53

 19            Q.   Mr. Phillips, did you ever negotiate the                11:41:57

 20    terms of a post employment contract with the NRA?                    11:42:05

 21                      MS. EISENBERG (VIA ZOOM):            Objection;    11:42:09

 22    form.                                                                11:42:10

 23            A.   I decline to answer based on the privilege              11:42:10

 24    provided to me by the Fifth Amendment of the U.S.                    11:42:10

 25    Constitution.                                                        11:42:15

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  1            Q.   This contract indicates that it goes into              11:42:17

  2    effect December 31, 2018, but it was executed                       11:42:22

  3    several months earlier in May.          Why is that?                11:42:25

  4                         MS. EISENBERG (VIA ZOOM):         Object to    11:42:29

  5    form.                                                               11:42:30

  6            A.   I decline to answer based on the privilege             11:42:30

  7    provided to me by the Fifth Amendment of the U.S.                   11:42:30

  8    Constitution.                                                       11:42:30

  9            Q.   If you look at page 1 of the contract                  11:42:36

 10    under number 1, sub number -- sub heading (b), and                  11:42:41

 11    then Roman Numeral II, it says, Consultant will                     11:42:48

 12    coordinate activities with NRA's executive vice                     11:42:54

 13    president, treasurer and CFO, and executive                         11:42:57

 14    director, office of advancement to build and                        11:43:01

 15    maintain relationships with gift -- major gift                      11:43:05

 16    donors, identify, cultivate relationships with                      11:43:08

 17    fundraising partners, and identify prospective high                 11:43:11

 18    net worth individuals to solicit for major gifts.                   11:43:15

 19    Consultant will communicate periodically with NRA                   11:43:19

 20    employees, officers, board members, and others as                   11:43:22

 21    deemed necessary in the performance of stated                       11:43:25

 22    services.                                                           11:43:28

 23                 Do you see that paragraph, sir?                        11:43:28

 24            A.   I do.                                                  11:43:31

 25            Q.   Okay.     Did you -- when it uses the term             11:43:32

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  1    "consultant," do you know whether -- strike that.                   11:43:37

  2    I'm sorry.                                                          11:43:41

  3                 Did you provide any of these services                  11:43:42

  4    listed in this paragraph?                                           11:43:44

  5            A.   I decline to answer --                                 11:43:52

  6                      MS. EISENBERG (VIA ZOOM):           Objection;    11:43:52

  7    form.                                                               11:43:53

  8            A.   -- based on the privilege provided to me               11:43:53

  9    by the Fifth Amendment of the U.S. Constitution.                    11:43:54

 10            Q.   Did you ever provide an invoice to the NRA             11:43:54

 11    reflecting performance of duties -- these duties                    11:43:58

 12    after you retired from NRA?                                         11:44:02

 13            A.   I decline to answer --                                 11:44:04

 14                      MS. EISENBERG (VIA ZOOM):           Object to     11:44:05

 15    form.                                                               11:44:06

 16            A.   -- based on privilege provided to me by                11:44:06

 17    the Fifth Amendment of the U.S. Constitution.                       11:44:08

 18            Q.   To your knowledge, was Mr. LaPierre aware              11:44:10

 19    of this contract?                                                   11:44:15

 20            A.   I decline to answer based on the privilege             11:44:19

 21    provided to me by the Fifth Amendment of the U.S.                   11:44:19

 22    Constitution.                                                       11:44:19

 23            Q.   Was Mr. Spray aware of this contract?                  11:44:28

 24            A.   I decline to answer based on the privilege             11:44:31

 25    provided to me by the Fifth Amendment of the U.S.                   11:44:31

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  1    Constitution.                                                        11:44:31

  2            Q.      Were you ever paid for services performed            11:44:37

  3    under this contract?                                                 11:44:39

  4            A.      I decline to answer based on the privilege           11:44:40

  5    provided to me by the Fifth Amendment of the U.S.                    11:44:40

  6    Constitution.                                                        11:44:41

  7            Q.      I would like to look at, if we go back               11:44:49

  8    now, to Exhibit A.          If you go back to your Marked            11:44:51

  9    Exhibits folder.                                                     11:44:57

 10            A.      We're now leaving Exhibit B?                         11:45:00

 11            Q.      We're now leaving Exhibit B, yes.                    11:45:02

 12                           MS. CONNELL (VIA ZOOM):       Jonathan, it    11:45:07

 13    the Exhibit A the first one or the second one that                   11:45:08

 14    we're looking at?          It's the 1231.                            11:45:10

 15            Q.      I think if you look at the first                     11:45:19

 16    Exhibit A.                                                           11:45:21

 17            A.      I'm having trouble navigating back there.            11:45:22

 18    Okay.        I have it.    I have something that's -- a              11:45:29

 19    document says Exhibit A in the little yellow box,                    11:45:33

 20    right.                                                               11:45:37

 21            Q.      Can you open it up?                                  11:45:38

 22            A.      Yes.                                                 11:45:44

 23            Q.      Could you please go to page 151.                     11:45:44

 24            A.      Is there a go-to method or do I have to              11:45:56

 25    scroll?                                                              11:45:59

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  1          A.     Yes.                                                     16:44:44

  2                         MS. EISENBERG (VIA ZOOM):         Let's pull     16:44:49

  3    up the 2014, 990.                                                     16:44:50

  4                         MR. CICILIANO (VIA ZOOM):         I'm not        16:45:07

  5    sure I have the 2014.        Oh, yeah, sorry about that.              16:45:07

  6                         MS. EISENBERG (VIA ZOOM):         Thank you.     16:45:13

  7          Q.     Mr. Phillips, showing you what's marked as               16:45:28

  8    Debtors' Exhibit 3 -- 4 -- so for the record we'll                    16:45:31

  9    make the answer 2 and we'll make this 4 -- 3.                         16:45:40

 10                 What is Debtors' Exhibit 3?                              16:45:53

 11                         (Exhibit 3 marked.)                              16:45:55

 12          A.     It's the 2014 Form 990.                                  16:45:55

 13          Q.     For the NRA?                                             16:45:59

 14          A.     For the -- yes, for the NRA.                             16:46:00

 15          Q.     Directing your attention to the signature                16:46:04

 16    in the bottom left corner where it says, Sign here.                   16:46:07

 17    Do you see there is a signature next to the words                     16:46:12

 18    sign here?                                                            16:46:14

 19          A.     I do.                                                    16:46:15

 20          Q.     And states your name in typed letters                    16:46:16

 21    Wilson H. Phillips, Jr.                                               16:46:20

 22                 Do you see that?                                         16:46:25

 23          A.     I do.                                                    16:46:25

 24          Q.     Is that your signature that appears right                16:46:25

 25    above those words?                                                    16:46:27

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  1          A.    Yes, it is.                                           16:46:28

  2          Q.    Directing your attention to typed text                16:46:31

  3    right above the signature, it states, Under                       16:46:34

  4    penalties of perjury, I declare that I have examined              16:46:38

  5    this return, including accompanying schedules and                 16:46:42

  6    statements, and to the best of my knowledge and                   16:46:46

  7    belief, it is the correct and complete -- I'm sorry.              16:46:50

  8    I'm having difficulty seeing it.          And to the best of      16:46:58

  9    my ability, it is true, correct and complete.                     16:47:02

 10                Do you see that?                                      16:47:05

 11          A.    I do, yes.                                            16:47:07

 12          Q.    Mr. Phillips, when you signed this Form               16:47:08

 13    990, was it, in fact, true that the document was to               16:47:14

 14    the best of your knowledge true?                                  16:47:19

 15          A.    I decline to answer based on the privilege            16:47:27

 16    provided to me by the Fifth Amendment.                            16:47:36

 17          Q.    When you signed this document, was it                 16:47:36

 18    correct?                                                          16:47:39

 19          A.    I decline to answer based on the privilege            16:47:42

 20    provided to me by the Fifth Amendment.                            16:47:46

 21          Q.    When you signed this document, was it                 16:47:46

 22    complete?                                                         16:47:48

 23          A.    I decline to answer based on the privilege            16:47:49

 24    provided to me by the Fifth Amendment.                            16:47:51

 25          Q.    Let's take a look at the Form 990 for                 16:47:53

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  1          A.    Yes, it is.                                           16:46:28

  2          Q.    Directing your attention to typed text                16:46:31

  3    right above the signature, it states, Under                       16:46:34

  4    penalties of perjury, I declare that I have examined              16:46:38

  5    this return, including accompanying schedules and                 16:46:42

  6    statements, and to the best of my knowledge and                   16:46:46

  7    belief, it is the correct and complete -- I'm sorry.              16:46:50

  8    I'm having difficulty seeing it.          And to the best of      16:46:58

  9    my ability, it is true, correct and complete.                     16:47:02

 10                Do you see that?                                      16:47:05

 11          A.    I do, yes.                                            16:47:07

 12          Q.    Mr. Phillips, when you signed this Form               16:47:08

 13    990, was it, in fact, true that the document was to               16:47:14

 14    the best of your knowledge true?                                  16:47:19

 15          A.    I decline to answer based on the privilege            16:47:27

 16    provided to me by the Fifth Amendment.                            16:47:36

 17          Q.    When you signed this document, was it                 16:47:36

 18    correct?                                                          16:47:39

 19          A.    I decline to answer based on the privilege            16:47:42

 20    provided to me by the Fifth Amendment.                            16:47:46

 21          Q.    When you signed this document, was it                 16:47:46

 22    complete?                                                         16:47:48

 23          A.    I decline to answer based on the privilege            16:47:49

 24    provided to me by the Fifth Amendment.                            16:47:51

 25          Q.    Let's take a look at the Form 990 for                 16:47:53

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  1    2015.        Mr. Phillips, showing you Debtors' Exhibit 4,        16:47:59

  2    what is it?                                                       16:48:20

  3                            (Exhibit 4 marked.)                       16:48:21

  4            A.      Form 990 for the year 2015.                       16:48:22

  5            Q.      For what organization?                            16:48:26

  6            A.      For The National Rifle Association.               16:48:28

  7            Q.      Do you see your signature at the bottom of        16:48:35

  8    the page?                                                         16:48:37

  9            A.      I do.                                             16:48:38

 10            Q.      It appears right above your name Wilson H.        16:48:40

 11    Phillips, Jr., correct?                                           16:48:44

 12            A.      Yes.                                              16:48:44

 13            Q.      Directing your attention to the text right        16:48:45

 14    above your signature, it appears to contain language              16:48:47

 15    that's similar, if not identical, to the one we just              16:48:53

 16    read.                                                             16:48:56

 17            A.      Correct.                                          16:48:57

 18            Q.      When you signed this Form 990, Debtors'           16:48:58

 19    Exhibit 4, was it to the best of your knowledge                   16:49:03

 20    true?                                                             16:49:07

 21            A.      I decline to answer based on the privilege        16:49:09

 22    provided to me by the Fifth Amendment.                            16:49:13

 23            Q.      When you signed it, was it to the best of         16:49:13

 24    your knowledge correct?                                           16:49:16

 25            A.      I decline to answer based on the privilege        16:49:17

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  1    provided to me by the Fifth Amendment.                            16:49:22

  2            Q.      When you signed this Form 990, was it to          16:49:22

  3    the best of your knowledge complete?                              16:49:25

  4            A.      I decline to answer based on the privilege        16:49:28

  5    provided to me by the Fifth Amendment.                            16:49:28

  6            Q.      Let's take a look at the Form 990 for             16:49:32

  7    2016.        Showing you what we'll mark for                      16:49:36

  8    identification as Debtors' Exhibit 5.                             16:49:52

  9                    Mr. Phillips what is Debtors' Exhibit 5?          16:49:56

 10                            (Exhibit 5 marked.)                       16:49:59

 11            A.      It's the Form 990 for The National Rifle          16:49:59

 12    Association for the year 2016.                                    16:50:03

 13            Q.      Do you see your signature on the first            16:50:06

 14    page of Debtors' Exhibit 5?                                       16:50:08

 15            A.      I do.                                             16:50:10

 16            Q.      And like the exhibit we just looked at, it        16:50:13

 17    appears near your name that's typed, Wilson H.                    16:50:17

 18    Phillips, correct?                                                16:50:24

 19            A.      Yes.                                              16:50:25

 20            Q.      When you signed this Form 990, Debtors'           16:50:25

 21    Exhibit 5, was it to the best of your knowledge and               16:50:29

 22    belief true?                                                      16:50:34

 23            A.      I decline to answer based on the privilege        16:50:36

 24    provided to me by the Fifth Amendment.                            16:50:38

 25            Q.      When you signed this Form 990, Debtors'           16:50:40

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  1    provided to me by the Fifth Amendment.                            16:49:22

  2            Q.      When you signed this Form 990, was it to          16:49:22

  3    the best of your knowledge complete?                              16:49:25

  4            A.      I decline to answer based on the privilege        16:49:28

  5    provided to me by the Fifth Amendment.                            16:49:28

  6            Q.      Let's take a look at the Form 990 for             16:49:32

  7    2016.        Showing you what we'll mark for                      16:49:36

  8    identification as Debtors' Exhibit 5.                             16:49:52

  9                    Mr. Phillips what is Debtors' Exhibit 5?          16:49:56

 10                            (Exhibit 5 marked.)                       16:49:59

 11            A.      It's the Form 990 for The National Rifle          16:49:59

 12    Association for the year 2016.                                    16:50:03

 13            Q.      Do you see your signature on the first            16:50:06

 14    page of Debtors' Exhibit 5?                                       16:50:08

 15            A.      I do.                                             16:50:10

 16            Q.      And like the exhibit we just looked at, it        16:50:13

 17    appears near your name that's typed, Wilson H.                    16:50:17

 18    Phillips, correct?                                                16:50:24

 19            A.      Yes.                                              16:50:25

 20            Q.      When you signed this Form 990, Debtors'           16:50:25

 21    Exhibit 5, was it to the best of your knowledge and               16:50:29

 22    belief true?                                                      16:50:34

 23            A.      I decline to answer based on the privilege        16:50:36

 24    provided to me by the Fifth Amendment.                            16:50:38

 25            Q.      When you signed this Form 990, Debtors'           16:50:40

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  1    Exhibit 5, was it to the best of your knowledge and                16:50:44

  2    belief correct?                                                    16:50:47

  3            A.      I decline to answer based on the privilege         16:50:52

  4    provided to me by the Fifth Amendment.                             16:50:53

  5            Q.      When you signed this Form 990, Debtors'            16:50:58

  6    Exhibit 5, was it to the best of your knowledge and                16:51:00

  7    belief complete?                                                   16:51:04

  8            A.      I decline to answer based on the privilege         16:51:07

  9    provided to me by the Fifth Amendment.                             16:51:08

 10            Q.      Let's take a look at the Form 990 for              16:51:12

 11    2017.        I apologize.     I misspoke.                          16:51:17

 12                    Let's take a look at the questionnaire for         16:51:52

 13    2015.        Mr. Phillips, showing you what we'll mark as          16:51:55

 14    Debtor's Exhibit 6 for identification.                             16:52:13

 15                    Do you have a document in front of you             16:52:18

 16    that says National Rifle Association Financial                     16:52:20

 17    Disclosure Questionnaire 2016 at the top?                          16:52:22

 18                            (Exhibit 6 marked.)                        16:52:26

 19            A.      I do.                                              16:52:26

 20            Q.      And it's a four-page document; is that             16:52:27

 21    fair?        We can scroll through to allow the witness to         16:52:32

 22    review it.                                                         16:52:35

 23                            MR. WERBNER (VIA ZOOM):       Well, if     16:52:37

 24    you're going to scroll it so that he can tell it's                 16:52:38

 25    four pages, that's fine.           But you're going to have to     16:52:41

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  1    Exhibit 5, was it to the best of your knowledge and                16:50:44

  2    belief correct?                                                    16:50:47

  3            A.      I decline to answer based on the privilege         16:50:52

  4    provided to me by the Fifth Amendment.                             16:50:53

  5            Q.      When you signed this Form 990, Debtors'            16:50:58

  6    Exhibit 5, was it to the best of your knowledge and                16:51:00

  7    belief complete?                                                   16:51:04

  8            A.      I decline to answer based on the privilege         16:51:07

  9    provided to me by the Fifth Amendment.                             16:51:08

 10            Q.      Let's take a look at the Form 990 for              16:51:12

 11    2017.        I apologize.     I misspoke.                          16:51:17

 12                    Let's take a look at the questionnaire for         16:51:52

 13    2015.        Mr. Phillips, showing you what we'll mark as          16:51:55

 14    Debtor's Exhibit 6 for identification.                             16:52:13

 15                    Do you have a document in front of you             16:52:18

 16    that says National Rifle Association Financial                     16:52:20

 17    Disclosure Questionnaire 2016 at the top?                          16:52:22

 18                            (Exhibit 6 marked.)                        16:52:26

 19            A.      I do.                                              16:52:26

 20            Q.      And it's a four-page document; is that             16:52:27

 21    fair?        We can scroll through to allow the witness to         16:52:32

 22    review it.                                                         16:52:35

 23                            MR. WERBNER (VIA ZOOM):       Well, if     16:52:37

 24    you're going to scroll it so that he can tell it's                 16:52:38

 25    four pages, that's fine.           But you're going to have to     16:52:41

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  1    take time to read it if you really want to question                         16:52:45

  2    him about the contents.                                                     16:52:47

  3            Q.   Absolutely.        Take as much time as you                    16:52:48

  4    need.                                                                       16:52:52

  5                         MR. WERBNER (VIA ZOOM):          Put it back           16:52:53

  6    on page 1 and he'll start reading.                                          16:52:55

  7                         MS. EISENBERG (VIA ZOOM):             Okay.            16:52:57

  8    Thank you so much.                                                          16:52:58

  9            A.   (Reviewed document.)          You can move.           Hold     16:53:07

 10    on.     Hold on.     One second.       Can you go back down                 16:53:31

 11    just a little bit.           Yeah, that way.       Am I reading             16:53:43

 12    that wrong?        Okay.     Let's move on.                                 16:54:01

 13                         MR. WERBNER (VIA ZOOM):          It's pretty           16:54:24

 14    hard to read.                                                               16:54:26

 15            A.   Move it down just a little bit.                I'm             16:54:29

 16    sorry.                                                                      16:54:29

 17                         MR. CICILIANO (VIA ZOOM):             Do you need      16:54:34

 18    it bigger?                                                                  16:54:34

 19                         THE WITNESS (VIA ZOOM):          That's good           16:54:34

 20    there size-wise.                                                            16:54:35

 21            A.   I have to get the first part of the                            16:54:41

 22    question too.        Okay.     Okay.    Move on.     Okay.        We're     16:54:42

 23    going to 4.        Okay.     Move to 7.    Okay.     10.     Okay.          16:55:25

 24            Q.   Let's pause on the last page of Debtors'                       16:56:30

 25    Exhibit 6 where it says, Print name, Wilson H.                              16:56:34

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  1    Phillips, Jr.           Do you see that?                          16:56:42

  2            A.      I do.                                             16:56:43

  3            Q.      And right above that there is a signature.        16:56:43

  4    Is that your signature?                                           16:56:45

  5            A.      Yes.                                              16:56:46

  6            Q.      Right above the signature it states, By my        16:56:48

  7    signature below, I affirm that my answers are true                16:56:51

  8    and correct to the best of my knowledge.                          16:56:53

  9                    Mr. Phillips, when you signed Debtors'            16:56:56

 10    Exhibit 6, did you believe that the answers that you              16:56:59

 11    provided to the NRA were, in fact, true to the best               16:57:04

 12    of your knowledge?                                                16:57:07

 13            A.      I decline to answer based on the privilege        16:57:08

 14    provided to me by the Fifth Amendment.                            16:57:09

 15            Q.      When you signed Debtors' Exhibit 6, were          16:57:13

 16    the answers in Debtors' Exhibit 6 correct to the                  16:57:19

 17    best of your knowledge?                                           16:57:25

 18            A.      I decline to answer based on the privilege        16:57:27

 19    provided to me by the Fifth Amendment.                            16:57:28

 20            Q.      Let's take a look at the questionnaire for        16:57:32

 21    2016.        Showing you a document with the title of             16:57:37

 22    National Rifle Association Financial Disclosure                   16:57:59

 23    Questionnaire 2016.                                               16:58:01

 24                    Can you see it on your screen, sir?               16:58:02

 25            A.      I can.                                            16:58:05

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  1          Q.     I would like to ask you questions that are           16:58:08

  2    similar to those that I asked with regard to                      16:58:14

  3    Debtors' Exhibit 6.        And I would like to give you an        16:58:17

  4    opportunity to review it in its entirety.                         16:58:21

  5                 Perhaps, though, we can start at the end             16:58:26

  6    of the document and then scroll through it as                     16:58:29

  7    necessary.                                                        16:58:36

  8                 I apologize.     We just pulled up the same          16:58:36

  9    document.     Let's take a look at the questionnaire              16:58:41

 10    for 2017.     So we'll mark this document, National               16:58:44

 11    Rifle Association Financial Disclosure Questionnaire              16:59:05

 12    2017 as Debtors' 7.                                               16:59:07

 13                 Mr. Phillips, can you see it on your                 16:59:12

 14    screen?     It's a document entitled National Rifle               16:59:14

 15    Association Financial Disclosure Questionnaire 2017.              16:59:16

 16                      (Exhibit 7 marked.)                             16:59:20

 17          A.     Yes, I can see it.                                   16:59:20

 18          Q.     What is it?                                          16:59:24

 19          A.     It's what you just said, it's the                    16:59:26

 20    disclosure financial for 2017.                                    16:59:28

 21          Q.     Let's take a look at the last page of the            16:59:34

 22    document.     Directing your attention to the lower               16:59:36

 23    left corner, page 4 of Debtors' Exhibit 7, where it               16:59:46

 24    says, Wilson Phillips right above.                                16:59:51

 25                 Is that your signature, Mr. Phillips?                16:59:54

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  1           A.   Are you sure you're on the same one?        That      16:59:56

  2    signature looks just like the last one we looked at.              17:00:02

  3           Q.   Okay.    We will sort it out and come back            17:00:07

  4    to that.                                                          17:00:10

  5           A.   Look at the date, 2017.                               17:00:11

  6           Q.   Right.    I do -- directing your attention            17:00:19

  7    to the bullets right above your signature.                        17:00:23

  8           A.   Yeah.                                                 17:00:26

  9           Q.   Do you see where it says, My answers are              17:00:27

 10    true and correct to the best of my knowledge?                     17:00:29

 11           A.   I do.                                                 17:00:32

 12           Q.   When you said that this looks just like               17:00:36

 13    the one we were looking at, do you know if this is                17:00:40

 14    another form that was signed in 2016?                             17:00:48

 15           A.   I'm sorry.    I thought we just did 2016.             17:00:56

 16    We were now looking for 2017.                                     17:01:00

 17           Q.   Do you remember when you signed this                  17:01:08

 18    document?                                                         17:01:10

 19           A.   I'm just talking about just a few minutes             17:01:10

 20    ago.                                                              17:01:13

 21           Q.   You believe this to be the same document              17:01:19

 22    that we just looked at a moment ago?                              17:01:21

 23           A.   I do.    I think it's a technical problem,            17:01:23

 24    not a question of when it was filed.                              17:01:27

 25           Q.   Sure.                                                 17:01:31

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  1                            MS. EISENBERG (VIA ZOOM):                          17:01:34

  2    Mr. Ciciliano, is it possible to look at 6 and 7 side                      17:01:34

  3    by side?                                                                   17:01:39

  4                            MR. CICILIANO (VIA ZOOM):         No.     I        17:01:57

  5    don't believe you can get them side by side.                    I think    17:01:58

  6    you can get them one at a time.                                            17:02:00

  7                            MS. EISENBERG (VIA ZOOM):         Okay.            17:02:02

  8            Q.      Well, let's just go back to 6 if you don't                 17:02:04

  9    mind.        Showing you Debtors' Exhibit 6 again.                         17:02:05

 10                    Do you have that document in front of you?                 17:02:25

 11            A.      I do.                                                      17:02:27

 12            Q.      And it says, National Rifle Association                    17:02:29

 13    Financial Disclosure Questionnaire 2016 at the top                         17:02:31

 14    of the first page, correct?                                                17:02:35

 15            A.      Yes.                                                       17:02:36

 16            Q.      Let's look at the last page if you don't                   17:02:37

 17    mind.        Is the date on the last page March 1, 2016?                   17:02:40

 18            A.      Correct.                                                   17:02:47

 19            Q.      When did you sign this document?                           17:02:50

 20            A.      Looks like I signed it on March 1, 2016.                   17:02:56

 21            Q.      Let's now take a look at Debtors'                          17:03:01

 22    Exhibit 7.        Directing your attention to the last                     17:03:04

 23    page of Debtors' Exhibit 7.                                                17:03:22

 24                    Is the date on this questionnaire                          17:03:26

 25    December 15, 2016?                                                         17:03:31

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  1          A.    Yes.                                                     17:03:35

  2          Q.    When did you sign Debtors' Exhibit 7?                    17:03:36

  3          A.    That's what I dated it.                                  17:03:43

  4          Q.    Do you know if you signed it on the date                 17:03:48

  5    that you dated it?                                                   17:03:50

  6          A.    I would think so.                                        17:03:53

  7          Q.    Does it appear, Mr. Phillips, that you                   17:03:56

  8    signed two questionnaires in 2016?                                   17:04:01

  9          A.    It's possible.                                           17:04:05

 10          Q.    Do you have any reason to believe that you               17:04:14

 11    did not?                                                             17:04:16

 12          A.    No.                                                      17:04:16

 13          Q.    I would like to ask you about the bulleted               17:04:20

 14    statements that appear right above your signature on                 17:04:24

 15    the fourth page of Debtors' Exhibit 7.                               17:04:27

 16                Would you like to review the document                    17:04:30

 17    before we go through those statements?                               17:04:33

 18                       MR. WERBNER (VIA ZOOM):        I don't think      17:04:40

 19    that's going to be necessary.         Why don't you submit           17:04:40

 20    your question and we'll see.                                         17:04:43

 21                       MS. EISENBERG (VIA ZOOM):          Certainly.     17:04:44

 22          Q.    And if at any time you would like to do                  17:04:45

 23    so, please let us know, Mr. Phillips.                                17:04:47

 24                Mr. Phillips, when you signed this                       17:04:49

 25    document on or about December 15, 2016, were your                    17:04:50

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  1    answers true to the best of your knowledge?                       17:04:56

  2          A.    I decline to answer based on the privilege            17:04:59

  3    provided to me by the Fifth Amendment.                            17:05:02

  4          Q.    When you signed this questionnaire, were              17:05:05

  5    the answers correct to the best of your knowledge?                17:05:08

  6          A.    I decline to answer based on the privilege            17:05:12

  7    provided to me by the Fifth Amendment.                            17:05:13

  8          Q.    Next it states, I have received a copy of             17:05:19

  9    the NRA's conflict of interest and related party                  17:05:22

 10    transaction policy.                                               17:05:24

 11                Do you see that statement?                            17:05:26

 12          A.    I do.                                                 17:05:30

 13          Q.    Was that a true statement?                            17:05:32

 14          A.    I decline to answer based on the privilege            17:05:34

 15    provided to me by the Fifth Amendment.                            17:05:35

 16          Q.    Next it states, I have read and understand            17:05:41

 17    that policy and agree to comply with it.                          17:05:43

 18                Do you see that?                                      17:05:46

 19          A.    I decline to answer based on the privilege            17:05:50

 20    provided to me by the Fifth Amendment to the U.S.                 17:05:50

 21    Constitution.                                                     17:05:57

 22          Q.    The question was if you see language that             17:05:57

 23    states, I have read and understand the policy and                 17:06:00

 24    agree to comply with it.                                          17:06:02

 25          A.    Yes, I do.                                            17:06:03

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  1          Q.    Thank you.    When you signed this                    17:06:05

  2    questionnaire on or about December 15, 2016, was it,              17:06:08

  3    in fact, the case that you had read the NRA's                     17:06:14

  4    conflict of interest and related party transaction                17:06:18

  5    policy?                                                           17:06:20

  6          A.    I decline to answer based on the privilege            17:06:22

  7    provided to me by the Fifth Amendment.                            17:06:25

  8          Q.    When you signed it on December 15, 2016,              17:06:25

  9    on or about that date, was it, in fact, true that                 17:06:32

 10    you were agreeing to comply with the NRA's conflict               17:06:36

 11    of interest and related party transaction policy?                 17:06:40

 12          A.    I decline to answer based on the privilege            17:06:45

 13    provided to me by the Fifth Amendment.                            17:06:45

 14          Q.    Let's take a look at the questionnaire for            17:06:49

 15    2018 which we will mark as Debtors' 8.                            17:06:51

 16                Mr. Phillips, showing you Debtors' 8.        Do       17:07:11

 17    you have it on the screen in the front of you?                    17:07:15

 18                      (Exhibit 8 marked.)                             17:06:58

 19          A.    I don't see it identified that way, but I             17:07:20

 20    see it's questionnaire for 2018.                                  17:07:22

 21          Q.    Fair point.    It states, National Rifle              17:07:26

 22    Association Financial Disclosure Questionnaire 2018,              17:07:29

 23    correct?                                                          17:07:32

 24          A.    Correct.                                              17:07:32

 25          Q.    Is your name written right above those                17:07:34

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  1          Q.    Thank you.    When you signed this                    17:06:05

  2    questionnaire on or about December 15, 2016, was it,              17:06:08

  3    in fact, the case that you had read the NRA's                     17:06:14

  4    conflict of interest and related party transaction                17:06:18

  5    policy?                                                           17:06:20

  6          A.    I decline to answer based on the privilege            17:06:22

  7    provided to me by the Fifth Amendment.                            17:06:25

  8          Q.    When you signed it on December 15, 2016,              17:06:25

  9    on or about that date, was it, in fact, true that                 17:06:32

 10    you were agreeing to comply with the NRA's conflict               17:06:36

 11    of interest and related party transaction policy?                 17:06:40

 12          A.    I decline to answer based on the privilege            17:06:45

 13    provided to me by the Fifth Amendment.                            17:06:45

 14          Q.    Let's take a look at the questionnaire for            17:06:49

 15    2018 which we will mark as Debtors' 8.                            17:06:51

 16                Mr. Phillips, showing you Debtors' 8.        Do       17:07:11

 17    you have it on the screen in the front of you?                    17:07:15

 18                      (Exhibit 8 marked.)                             17:06:58

 19          A.    I don't see it identified that way, but I             17:07:20

 20    see it's questionnaire for 2018.                                  17:07:22

 21          Q.    Fair point.    It states, National Rifle              17:07:26

 22    Association Financial Disclosure Questionnaire 2018,              17:07:29

 23    correct?                                                          17:07:32

 24          A.    Correct.                                              17:07:32

 25          Q.    Is your name written right above those                17:07:34

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  1    words?                                                            17:07:37

  2          A.    Yes.                                                  17:07:37

  3          Q.    I would like to show you I believe the                17:07:40

  4    penultimate page of this document.           Directing your       17:07:44

  5    attention to page 4 of Debtors' Exhibit 8, is the                 17:07:52

  6    signature in the bottom left corner of that page                  17:08:01

  7    your signature, Mr. Phillips?                                     17:08:04

  8          A.    It's my signature.                                    17:08:07

  9          Q.    And it appears right above the words in               17:08:10

 10    handwritten Wilson Phillips, correct?                             17:08:14

 11          A.    Correct.                                              17:08:17

 12          Q.    When did you sign this questionnaire,                 17:08:19

 13    Debtors' Exhibit 8?                                               17:08:22

 14          A.    I decline to answer based on the privilege            17:08:26

 15    provided to me by the Fifth Amendment.                            17:08:32

 16          Q.    When you signed this document, Debtors'               17:08:32

 17    Exhibit 8, were your answers true to the best of                  17:08:40

 18    your knowledge?                                                   17:08:43

 19          A.    I decline to answer based on the privilege            17:08:47

 20    provided to me by the Fifth Amendment.                            17:08:48

 21          Q.    Were your answers correct to the best of              17:08:49

 22    your knowledge?                                                   17:08:52

 23          A.    I decline to answer based on the privilege            17:08:52

 24    provided to me by the Fifth Amendment.                            17:08:55

 25          Q.    Let's take a look at the January 2019                 17:09:03

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  1    words?                                                            17:07:37

  2          A.    Yes.                                                  17:07:37

  3          Q.    I would like to show you I believe the                17:07:40

  4    penultimate page of this document.           Directing your       17:07:44

  5    attention to page 4 of Debtors' Exhibit 8, is the                 17:07:52

  6    signature in the bottom left corner of that page                  17:08:01

  7    your signature, Mr. Phillips?                                     17:08:04

  8          A.    It's my signature.                                    17:08:07

  9          Q.    And it appears right above the words in               17:08:10

 10    handwritten Wilson Phillips, correct?                             17:08:14

 11          A.    Correct.                                              17:08:17

 12          Q.    When did you sign this questionnaire,                 17:08:19

 13    Debtors' Exhibit 8?                                               17:08:22

 14          A.    I decline to answer based on the privilege            17:08:26

 15    provided to me by the Fifth Amendment.                            17:08:32

 16          Q.    When you signed this document, Debtors'               17:08:32

 17    Exhibit 8, were your answers true to the best of                  17:08:40

 18    your knowledge?                                                   17:08:43

 19          A.    I decline to answer based on the privilege            17:08:47

 20    provided to me by the Fifth Amendment.                            17:08:48

 21          Q.    Were your answers correct to the best of              17:08:49

 22    your knowledge?                                                   17:08:52

 23          A.    I decline to answer based on the privilege            17:08:52

 24    provided to me by the Fifth Amendment.                            17:08:55

 25          Q.    Let's take a look at the January 2019                 17:09:03

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  1    questionnaire.        I am showing you a document that            17:09:06

  2    states, National Rifle Association Financial                      17:09:19

  3    Disclosure Questionnaire.                                         17:09:21

  4                 Do you see that?                                     17:09:23

  5                         (Exhibit 9 marked.)                          17:09:24

  6          A.     I do.                                                17:09:24

  7          Q.     Does -- do words Wilson H. Phillips, Jr.,            17:09:25

  8    appear in the top right corner on the first page of               17:09:31

  9    the document?                                                     17:09:34

 10          A.     Yes.                                                 17:09:35

 11          Q.     If we can take a look at the penultimate             17:09:37

 12    page of this document which we'll mark as                         17:09:41

 13    Debtors' 9.                                                       17:09:46

 14                 Mr. Phillips, is that your signature on              17:09:50

 15    page 4 of Debtors' Exhibit 9?                                     17:09:55

 16          A.     Yes, it's my signature.                              17:09:58

 17          Q.     When did you sign this document?                     17:10:08

 18          A.     I decline to answer based on the privilege           17:10:11

 19    provided to me by the Fifth Amendment.                            17:10:13

 20          Q.     When you signed this document, were your             17:10:17

 21    answers true and correct to the best of your                      17:10:21

 22    knowledge?                                                        17:10:23

 23          A.     I decline to answer based on the privilege           17:10:24

 24    provided to me by the Fifth Amendment of the U.S.                 17:10:33

 25    Constitution.                                                     17:10:34

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  1          Q.     When you signed this document, were the              17:10:34

  2    answers you provided correct to the best of your                  17:10:39

  3    knowledge?                                                        17:10:40

  4          A.     I decline to answer based on the privilege           17:10:43

  5    provided to me by the Fifth Amendment.                            17:10:46

  6          Q.     The first bullet states also after the               17:10:46

  7    comma, quote, And I will inform the Secretary's                   17:10:51

  8    Office if any of my answers change, closed quote.                 17:10:55

  9                 Do you see that language?                            17:11:00

 10          A.     I do.                                                17:11:02

 11          Q.     Did you understand when you signed this              17:11:07

 12    document that you made this representation?                       17:11:10

 13          A.     I decline to answer based on the privilege           17:11:19

 14    provided to me by the Fifth Amendment.                            17:11:23

 15          Q.     Let's take a look at the management rep              17:11:23

 16    letter for 2015.     Mr. Phillips, I'm showing you a              17:11:28

 17    document that is a five-page document.            It's dated      17:12:00

 18    March 8, 2016, and it is addressed to RSM US LLP.                 17:12:07

 19                 Do you have it in front of you?                      17:12:14

 20          A.     I do.                                                17:12:15

 21          Q.     And for purposes of keeping track we'll              17:12:16

 22    mark it as Debtor's Exhibit 9.                                    17:12:18

 23                 What is this document, Debtors' Exhibit 9?           17:12:22

 24          A.     It's a representation letter to the                  17:12:28

 25    outside auditors in connection with their audit.                  17:12:30

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  1          Q.     When you signed this document, were the              17:10:34

  2    answers you provided correct to the best of your                  17:10:39

  3    knowledge?                                                        17:10:40

  4          A.     I decline to answer based on the privilege           17:10:43

  5    provided to me by the Fifth Amendment.                            17:10:46

  6          Q.     The first bullet states also after the               17:10:46

  7    comma, quote, And I will inform the Secretary's                   17:10:51

  8    Office if any of my answers change, closed quote.                 17:10:55

  9                 Do you see that language?                            17:11:00

 10          A.     I do.                                                17:11:02

 11          Q.     Did you understand when you signed this              17:11:07

 12    document that you made this representation?                       17:11:10

 13          A.     I decline to answer based on the privilege           17:11:19

 14    provided to me by the Fifth Amendment.                            17:11:23

 15          Q.     Let's take a look at the management rep              17:11:23

 16    letter for 2015.     Mr. Phillips, I'm showing you a              17:11:28

 17    document that is a five-page document.            It's dated      17:12:00

 18    March 8, 2016, and it is addressed to RSM US LLP.                 17:12:07

 19                 Do you have it in front of you?                      17:12:14

 20          A.     I do.                                                17:12:15

 21          Q.     And for purposes of keeping track we'll              17:12:16

 22    mark it as Debtor's Exhibit 9.                                    17:12:18

 23                 What is this document, Debtors' Exhibit 9?           17:12:22

 24          A.     It's a representation letter to the                  17:12:28

 25    outside auditors in connection with their audit.                  17:12:30

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  1          Q.    What is the purpose of this letter?                   17:12:36

  2          A.    To show -- to indicate that they believe              17:12:39

  3    what they provided was accurate.                                  17:12:45

  4          Q.    And when you say "they," who are you                  17:12:48

  5    referring to?                                                     17:12:50

  6          A.    The clients.                                          17:12:51

  7          Q.    Sorry.     Who?                                       17:12:58

  8          A.    The clients of the firm.                              17:12:59

  9          Q.    And by the firm you mean RSM, correct?                17:13:01

 10          A.    Yes, I do.                                            17:13:04

 11          Q.    Okay.    Let's take a look at the last two            17:13:05

 12    pages of Debtors' Exhibit 9.                                      17:13:08

 13                Does your signature appear on page 4 of               17:13:14

 14    this letter to RSM?                                               17:13:20

 15          A.    It does.                                              17:13:23

 16          Q.    And is it right above the words Wilson H.             17:13:26

 17    Phillips, Jr.?                                                    17:13:31

 18          A.    Yes.                                                  17:13:35

 19          Q.    Let's scroll down -- let's go up to the               17:13:36

 20    first page.     Directing your attention to the text              17:13:58

 21    right below financial statements, the text that                   17:14:07

 22    appears in bold.       There is a list of numbered                17:14:11

 23    representations 1 through 7.                                      17:14:15

 24                Do you see that?                                      17:14:20

 25          A.    I do.                                                 17:14:20

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  1          Q.    The first statement states, We have                   17:14:24

  2    fulfilled our responsibilities as set out in the                  17:14:26

  3    terms of the audit arrangement letter, dated                      17:14:30

  4    October 23, 2015, for the preparation and fair                    17:14:34

  5    presentation of the financial statements referred to              17:14:40

  6    above in accordance with the US GAAP.                             17:14:43

  7                Do you see that?                                      17:14:49

  8          A.    I do.                                                 17:14:49

  9          Q.    The word "we," does that refer to you,                17:14:54

 10    among others?                                                     17:14:57

 11          A.    Yes.                                                  17:14:59

 12          Q.    When you signed Debtors' Exhibit 9, had               17:15:01

 13    you fulfilled your responsibilities as set out in                 17:15:06

 14    the terms of the audit arrangement letter that's                  17:15:11

 15    referenced in this paragraph?                                     17:15:16

 16          A.    I decline to answer based on the privilege            17:15:19

 17    provided to me by the Fifth Amendment.                            17:15:21

 18          Q.    Directing your attention to page 3 of the             17:15:37

 19    letter.    Directing your attention to statement                  17:15:40

 20    numbered 11.       It states, All transactions have been          17:15:56

 21    recorded in the accounting records and are reflected              17:16:00

 22    in the financial statements.                                      17:16:05

 23                Do you see that?                                      17:16:07

 24          A.    I do.                                                 17:16:10

 25          Q.    To the best of your knowledge and belief,             17:16:13

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  1    when you signed Debtors' Exhibit 9, had all                       17:16:15

  2    transactions been recorded in the accounting                      17:16:21

  3    records?                                                          17:16:25

  4          A.    I decline to answer based on the privilege            17:16:26

  5    provided to me by the Fifth Amendment.                            17:16:28

  6          Q.    Went you signed Debtors' Exhibit 9, had               17:16:31

  7    all transactions been reflected in the financial                  17:16:35

  8    statements?                                                       17:16:39

  9          A.    I decline to answer based on the privilege            17:16:43

 10    provided to me by the Fifth Amendment.                            17:16:44

 11          Q.    Directing your attention to paragraph 14,             17:16:53

 12    which appears towards the bottom of the page, it                  17:16:56

 13    states, We have no knowledge of any allegations of                17:16:59

 14    fraud or suspected fraud affecting the NRA's                      17:17:02

 15    financial statements received in communications from              17:17:05

 16    employees, former employees, regulators or others.                17:17:09

 17                Do you see that language?                             17:17:14

 18          A.    I do.                                                 17:17:16

 19          Q.    And again, the word "we," does that refer             17:17:19

 20    to yourself, among others?                                        17:17:22

 21          A.    Yes.                                                  17:17:24

 22          Q.    When you signed Debtors' Exhibit 9, is it             17:17:26

 23    fair to say that you had no knowledge of any                      17:17:29

 24    allegations of fraud or suspected fraud affecting                 17:17:32

 25    the NRA's financial statements, whether they had                  17:17:37

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  1    been received in communications from employees,                   17:17:40

  2    former employees, regulators or others?                           17:17:43

  3          A.    I decline to answer based on the privilege            17:17:47

  4    provided to me by the Fifth Amendment.                            17:17:48

  5          Q.    Let's take a look at the letter for 2016.             17:17:53

  6    Let's move on to the next exhibit.                                17:17:58

  7          A.    This is 2016, though, right?                          17:18:03

  8          Q.    Let's go back.     I think that you are               17:18:05

  9    making an important point.        Some we're back to              17:18:09

 10    Debtors' Exhibit 9 (sic).                                         17:18:22

 11                So is it fair to say that the letter is               17:18:24

 12    dated March 8, 2016?                                              17:18:28

 13          A.    Yes.                                                  17:18:32

 14          Q.    And directing your attention to the first             17:18:34

 15    full paragraph on the first page of Debtors'                      17:18:37

 16    Exhibit 9, does it state as follows, quote, This                  17:18:43

 17    representation letter is provided in connection with              17:18:48

 18    your audits of the consolidated financial of                      17:18:52

 19    National Rifle Association of America and                         17:18:55

 20    affiliates, the NRA, which comprise the consolidated              17:18:58

 21    statements of financial position as of December 31,               17:19:02

 22    2015 and 2014, and the related consolidated                       17:19:06

 23    statements of activities and cash flow for the years              17:19:12

 24    then ended, and the related notes to the                          17:19:16

 25    consolidated financial statements for the purpose of              17:19:19

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  1    been received in communications from employees,                   17:17:40

  2    former employees, regulators or others?                           17:17:43

  3          A.    I decline to answer based on the privilege            17:17:47

  4    provided to me by the Fifth Amendment.                            17:17:48

  5          Q.    Let's take a look at the letter for 2016.             17:17:53

  6    Let's move on to the next exhibit.                                17:17:58

  7          A.    This is 2016, though, right?                          17:18:03

  8          Q.    Let's go back.     I think that you are               17:18:05

  9    making an important point.        Some we're back to              17:18:09

 10    Debtors' Exhibit 9 (sic).                                         17:18:22

 11                So is it fair to say that the letter is               17:18:24

 12    dated March 8, 2016?                                              17:18:28

 13          A.    Yes.                                                  17:18:32

 14          Q.    And directing your attention to the first             17:18:34

 15    full paragraph on the first page of Debtors'                      17:18:37

 16    Exhibit 9, does it state as follows, quote, This                  17:18:43

 17    representation letter is provided in connection with              17:18:48

 18    your audits of the consolidated financial of                      17:18:52

 19    National Rifle Association of America and                         17:18:55

 20    affiliates, the NRA, which comprise the consolidated              17:18:58

 21    statements of financial position as of December 31,               17:19:02

 22    2015 and 2014, and the related consolidated                       17:19:06

 23    statements of activities and cash flow for the years              17:19:12

 24    then ended, and the related notes to the                          17:19:16

 25    consolidated financial statements for the purpose of              17:19:19

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  1    expressing an opinion on whether the consolidated                 17:19:23

  2    financial statements are presented fairly, in all                 17:19:27

  3    material respects, in accordance with accounting                  17:19:30

  4    principles generally accepted in the United States                17:19:32

  5    of America (US GAAP).                                             17:19:36

  6                 Does Exhibit 9 say what I just said?                 17:19:40

  7          A.     Yes.                                                 17:19:43

  8          Q.     Can you explain the reference to                     17:19:48

  9    December 31, 2015, and December 31, 2014, in this                 17:19:50

 10    paragraph?                                                        17:19:56

 11          A.     In the -- those are the two years under              17:19:58

 12    audit.     Actually '15 currently under audit.        '14 was     17:20:03

 13    showing the prior year by comparison.                             17:20:10

 14          Q.     Thank you.    So let's now go back to                17:20:14

 15    Exhibit 10.     Can you see Exhibit 10 which is a                 17:20:18

 16    March -- a letter dated March 8, 2017?                            17:20:36

 17                        (Exhibit 10 marked.)                          17:20:29

 18          A.     Yes.                                                 17:20:39

 19          Q.     And what is Debtors' Exhibit 10?                     17:20:40

 20          A.     It's a representation letter for audits              17:20:47

 21    year for the year 2016 and comparable 2015.                       17:20:53

 22          Q.     What is the difference between Debtors'              17:20:58

 23    Exhibits 9 and 10?                                                17:21:01

 24          A.     The dates.                                           17:21:04

 25          Q.     Did you sign this letter, Debtors'                   17:21:11

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  1    Exhibit 10?                                                       17:21:16

  2                        MS. EISENBERG (VIA ZOOM):         Dylan,      17:21:18

  3    would be so kind as to please scroll down.                        17:21:20

  4          A.    Go to the bottom.      That's my signature.           17:21:22

  5          Q.    Is your signature -- by it's my signature,            17:21:31

  6    are you referring to the signature in the top left                17:21:33

  7    corner of page 4 of Debtors' Exhibit 10?                          17:21:36

  8          A.    Right above my name.                                  17:21:38

  9          Q.    Thank you.     Let's scroll up.                       17:21:41

 10                Mr. Phillips, directing your attention to             17:22:01

 11    the numbered paragraph 1 on page 1 of Debtors'                    17:22:03

 12    Exhibit 10.     Do you see where it states, We have               17:22:06

 13    fulfilled our responsibilities as set out in the                  17:22:08

 14    terms of the audit arrangement letter, dated                      17:22:11

 15    October 12, 2016, for the preparation and fair                    17:22:14

 16    representation of the financial statements referred               17:22:20

 17    to above in accordance with US GAAP.                              17:22:21

 18                Do you see that?                                      17:22:24

 19          A.    I'm still trying to find it.                          17:22:25

 20          Q.    I'm so sorry.     Let me slow down.                   17:22:27

 21          A.    Okay.     Now I have got it.      Is that the         17:22:30

 22    very first paragraph?                                             17:22:31

 23          Q.    It is.                                                17:22:32

 24          A.    I got a few steps behind you there.                   17:22:34

 25          Q.    So let me go over it again just to make               17:22:40

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  1    sure.        Is it fair to say, Mr. Phillips, that the            17:22:43

  2    first -- the paragraph that's numbered number 1                   17:22:47

  3    states as follows?                                                17:22:50

  4            A.      I was up on the first paragraph above, the        17:22:52

  5    very first paragraph in the letter.                               17:22:55

  6            Q.      Yes.   I'm sorry I made it confusing.             17:22:58

  7                    So directing you to the paragraph that's          17:23:01

  8    the first of the numbered paragraphs and appears                  17:23:03

  9    after 1.        Do you agree that it states, quote, We            17:23:07

 10    have fulfilled our responsibilities as set out in                 17:23:13

 11    the terms of the audit arrangement letter, dated                  17:23:17

 12    October 12, 2016, for the preparation and fair                    17:23:19

 13    presentation of the financial statements referred to              17:23:23

 14    above in accordance with the US GAAP?                             17:23:26

 15            A.      Yes.                                              17:23:29

 16            Q.      What is the audit arrangement letter dated        17:23:35

 17    October 12, 2016?                                                 17:23:35

 18            A.      There is the engagement letter that the           17:23:38

 19    auditors sent at the beginning of the audit.                      17:23:41

 20            Q.      When you signed this letter to RSM, had           17:23:47

 21    you fulfilled your responsibilities as set out in                 17:23:53

 22    the terms of that audit arrangement letter?                       17:23:58

 23            A.      I decline to answer based on the privilege        17:24:03

 24    provided to me by the Fifth Amendment.                            17:24:04

 25            Q.      Let's go to the second page.        Directing     17:24:10

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  1    your attention to paragraph number 8 on page 2 of                    17:24:28

  2    Debtors' Exhibit 10.                                                 17:24:35

  3                 Mr. Phillips, does it state quote, The                  17:24:37

  4    selection and application of accounting policies are                 17:24:39

  5    appropriate.        Do you see that?                                 17:24:44

  6          A.     I do.                                                   17:24:50

  7          Q.     I apologize.     I couldn't hear you.      Did          17:24:53

  8    you say yes?                                                         17:24:55

  9          A.     Yes.     Yes.                                           17:24:56

 10          Q.     And the second sentence in paragraph 8                  17:24:57

 11    does it say, quote, We further represent the                         17:25:01

 12    following are properly presented and/or disclosed:                   17:25:04

 13    First, our tax status -- and then there is text                      17:25:10

 14    which I won't read by you are welcome to take as                     17:25:16

 15    much time as you like.                                               17:25:20

 16          A.     Keep going.                                             17:25:20

 17          Q.     B, releases of restricted net assets.            C,     17:25:25

 18    amounts held for others under agency, et cetera,                     17:25:27

 19    et cetera.                                                           17:25:31

 20                 And then number 9, is it fair to say that               17:25:31

 21    it states, We have no knowledge of any uncorrected                   17:25:37

 22    misstatements in the financial statements.                           17:25:39

 23                 Do you see that?                                        17:25:42

 24          A.     Uh-huh.                                                 17:25:42

 25          Q.     When you signed Debtors' Exhibit 10, is it              17:25:46

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  1    fair to say that you had no knowledge of any                      17:25:54

  2    uncorrected misstatements in the financial                        17:25:57

  3    statements as referenced in paragraph 9?                          17:26:00

  4          A.    I decline to answer based on the privilege            17:26:03

  5    provided to me by the Fifth Amendment.                            17:26:05

  6          Q.    When you signed this letter to RSM, was it            17:26:09

  7    the case that the items listed in paragraph 8 were,               17:26:15

  8    in fact, properly presented?                                      17:26:23

  9          A.    I decline to answer based on the privilege            17:26:27

 10    provided to me by the Fifth Amendment.                            17:26:29

 11          Q.    When you signed this letter to RSM, was               17:26:31

 12    it, in fact, the case that the items listed in                    17:26:34

 13    paragraph 8 had been properly disclosed?                          17:26:40

 14          A.    I decline to answer based on the privilege            17:26:44

 15    provided to me by the Fifth Amendment.                            17:26:45

 16          Q.    Let's take a look at the letter for 2017              17:26:46

 17    which we will mark as Debtors' 11.                                17:26:55

 18                Mr. Phillips, I'm showing you a four-page             17:27:32

 19    document on NRA letterhead dated March 7, 2018.                   17:27:36

 20                Do you see that?                                      17:27:43

 21                        (Exhibit 11 marked.)                          17:26:59

 22          A.    I do.                                                 17:27:43

 23          Q.    What is it?                                           17:27:43

 24          A.    It's a representation letter for National             17:27:46

 25    Rifle Association and its affiliates for the year                 17:27:52

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  1    fair to say that you had no knowledge of any                      17:25:54

  2    uncorrected misstatements in the financial                        17:25:57

  3    statements as referenced in paragraph 9?                          17:26:00

  4          A.    I decline to answer based on the privilege            17:26:03

  5    provided to me by the Fifth Amendment.                            17:26:05

  6          Q.    When you signed this letter to RSM, was it            17:26:09

  7    the case that the items listed in paragraph 8 were,               17:26:15

  8    in fact, properly presented?                                      17:26:23

  9          A.    I decline to answer based on the privilege            17:26:27

 10    provided to me by the Fifth Amendment.                            17:26:29

 11          Q.    When you signed this letter to RSM, was               17:26:31

 12    it, in fact, the case that the items listed in                    17:26:34

 13    paragraph 8 had been properly disclosed?                          17:26:40

 14          A.    I decline to answer based on the privilege            17:26:44

 15    provided to me by the Fifth Amendment.                            17:26:45

 16          Q.    Let's take a look at the letter for 2017              17:26:46

 17    which we will mark as Debtors' 11.                                17:26:55

 18                Mr. Phillips, I'm showing you a four-page             17:27:32

 19    document on NRA letterhead dated March 7, 2018.                   17:27:36

 20                Do you see that?                                      17:27:43

 21                        (Exhibit 11 marked.)                          17:26:59

 22          A.    I do.                                                 17:27:43

 23          Q.    What is it?                                           17:27:43

 24          A.    It's a representation letter for National             17:27:46

 25    Rifle Association and its affiliates for the year                 17:27:52

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  1    ended December 31st, 2017, and the prior year.                            17:27:55

  2            Q.      Did you sign Debtors' Exhibit 11?                         17:28:01

  3            A.      Can you take me to down to the bottom?                    17:28:05

  4            Q.      Certainly.                                                17:28:07

  5            A.      That's my signature again.                                17:28:17

  6            Q.      So is the answer yes, you signed it?                      17:28:21

  7            A.      The answer is it's my signature.             It looks     17:28:25

  8    like a facsimile.                                                         17:28:29

  9            Q.      Who had the ability to apply your                         17:28:32

 10    facsimile to documents in or around when Exhibit 11                       17:28:37

 11    is dated?                                                                 17:28:48

 12            A.      Lisa Supernaugh.                                          17:28:50

 13            Q.      Anybody else?                                             17:28:53

 14            A.      No.                                                       17:28:58

 15            Q.      Did you authorize Ms. Supernaugh to apply                 17:29:01

 16    your facsimile signature to this letter?                                  17:29:04

 17            A.      I don't know about that document.             I'm not     17:29:07

 18    aware ever of any time she used it without coming to                      17:29:10

 19    me first.                                                                 17:29:16

 20            Q.      I apologize.    I couldn't hear what you                  17:29:16

 21    said.        Could you --                                                 17:29:19

 22                          MS. EISENBERG (VIA ZOOM):            Ms. Munroe,    17:29:21

 23    if you heard what Mr. Phillips said, could you read                       17:29:22

 24    it just so that I can hear it.

 25                          THE REPORTER (VIA ZOOM):            He faded out

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  1    at the end.

  2                        MS. EISENBERG (VIA ZOOM):         Why don't

  3    we reread my question, if you don't mind, Ms. Munroe,

  4    and then we'll ask to please answer it again.                       17:29:52

  5                        (Record read.)                                  17:29:52

  6          A.    I don't recall.                                         17:29:52

  7          Q.    Counsel, I would like to --                             17:30:01

  8                        MS. EISENBERG (VIA ZOOM):         Go up to      17:30:10

  9    the first page of Exhibit 11, Dylan, if you would be                17:30:11

 10    so kind.                                                            17:30:17

 11          Q.    Mr. Phillips, it states in the                          17:30:18

 12    paragraph -- first numbered paragraph, quote, We                    17:30:23

 13    have fulfilled our responsibilities as set out in                   17:30:27

 14    the terms of the audit arrangement letter, dated                    17:30:29

 15    October 23, 2017, for the preparation and fair                      17:30:32

 16    presentation of the consolidated financial                          17:30:37

 17    statements referred to above in accordance with the                 17:30:40

 18    US GAAP.                                                            17:30:42

 19                Do you see that?                                        17:30:42

 20          A.    I do.                                                   17:30:44

 21          Q.    Do you understand the term "we" to refer                17:30:47

 22    to you, among others?                                               17:30:49

 23          A.    Yes.                                                    17:30:51

 24          Q.    To whom else does the term "we" as used in              17:30:52

 25    this letter refer?                                                  17:30:56

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  1          A.    Well, it would be the people that signed                 17:30:57

  2    the letter for one thing and then possibly -- I                      17:31:00

  3    guess that's who is actually saying it.               But people     17:31:06

  4    that worked for them, too, I'm sure they're                          17:31:11

  5    attesting for them as well.                                          17:31:13

  6          Q.    And as to your yourself, in March of 2018,               17:31:16

  7    had you fulfilled your responsibilities as set out                   17:31:23

  8    in the letter referenced in paragraph 1?                             17:31:26

  9          A.    I decline to answer based on the privilege               17:31:30

 10    provided to me by the Fifth Amendment.                               17:31:30

 11          Q.    Can we please go to the second page.                     17:31:35

 12    Directing your attention to paragraph 8 which                        17:31:44

 13    consists of multiple subparagraphs.                                  17:31:48

 14                Do you see that?                                         17:31:52

 15          A.    Yes.                                                     17:31:53

 16          Q.    The second sentence of the preface in                    17:31:55

 17    paragraph 8 states, We further represent that the                    17:32:01

 18    following are properly recorded and/or disclosed in                  17:32:03

 19    the consolidated financial statements.                               17:32:07

 20                Do you see that?                                         17:32:09

 21          A.    I do.                                                    17:32:10

 22          Q.    Was this a correct statement as of the                   17:32:11

 23    date of this letter?                                                 17:32:15

 24          A.    I decline to answer based on the privilege               17:32:19

 25    provided to me by the Fifth Amendment.                               17:32:21

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  1    STATE OF TEXAS          )
  2    COUNTY OF DALLAS )
  3
  4
  5
  6
  7
  8
  9           I, Michelle L. Munroe, Certified Shorthand
10     Reporter in and for the State of Texas, certify that
11     the foregoing deposition of WILSON H. PHILLIPS, JR.
12     was reported stenographically by me at the time and
13     place indicated, said witness having been placed
14     under oath by me, and that the deposition is a true
15     record of the testimony given by the witness;
16            That the amount of time used by each party at
17     the deposition is as follows:
              Ms. Connell                -        4 hours, 16 minutes
18            Mr. Mason                  -        34 minutes
19            Ms. Eisenberg              -        1 hour
20
21
22
23
24
25

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  1           I further certify that I am neither counsel for
  2    nor related to any party in this cause and am not
  3    financially interested in its outcome.
  4           Given under my hand on this the 22nd day
  5    of March, 2021.
  6
  7
  8
  9
10
11
12
13
14
15
16
17
18
19
                                <%16958,Signature%>
20                              Michelle L. Munroe, CSR No. 6011
                                Commission expires 12-31-22
21                              Firm Registration #571
                                VERITEXT LEGAL SOLUTIONS
22                              300 Throckmorton Street, Suite 1600
                                Fort Worth, Texas            76102
23                              817.336.3042          telephone
24
25

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  1    mwerbner@werbernlaw.com
  2                                    March 22, 2021
  3    National Rifle Association Of America And Sea Girt LLC
  4    DEPOSITION OF: Wilson H. Phillips , Jr. (# 4507548)
  5           The above-referenced witness transcript is
  6    available for read and sign.
  7           Within the applicable timeframe, the witness
  8    should read the testimony to verify its accuracy. If
  9    there are any changes, the witness should note those
10     on the attached Errata Sheet.
11            The witness should sign and notarize the
12     attached Errata pages and return to Veritext at
13     errata-tx@veritext.com.
14            According to applicable rules or agreements, if
15     the witness fails to do so within the time allotted,
16     a certified copy of the transcript may be used as if
17     signed.
18                                        Yours,
19                                        Veritext Legal Solutions
20
21
22
23
24
25

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